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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH CAROLINA
                            BEAUFORT DIVISION
 GREGORY LASKY,                      )
                                     )  Civil Action No. 9:18-CV-00474-RMG
           Plaintiff,                )
      vs.                            )
                                     )  DEFENDANT’S LOCAL RULE 26.03
 BLUFFTON HOTEL, LLC,                )          RULE 26(f) REPORT
                                     )
           Defendant.                )
                                     )

       The Defendant, by and through its undersigned attorneys, hereby submits their Responses

to Local Rule 26.03 Interrogatories in accordance with Conference and Scheduling Order issued

February 21, 2018, by The Honorable Richard M. Gergel:

       (1) A short statement of the facts of the case:

RESPONSE: The Plaintiff has filed an action pursuant to the Americans with Disabilities
Act, alleging that the hotel located in Bluffton, South Carolina does not comply with the
Act.

       (2) The names of fact witnesses likely to be called by the party and a brief summary of
           their expected testimony.

RESPONSE: Defendant has not determined which individuals are likely to have
discoverable information, but sets forth that the Plaintiff, Gregory Lasky is a witness to
this matter and further witnesses will be determined as discovery progresses.

       (3) The names and subject matter of expert witnesses (if no witnesses have been
           identified, the subject matter and field of expertise should be given as to experts
           likely to be offered).

RESPONSE: The Defendant has not determined its expert witnesses at this time, but will
supplement this response once that decision has been made.

       (4) A summary of the claims or defenses with statutory and/or case citations supporting
           the same.

RESPONSE: The Plaintiff has brought an action pursuant to the Americans with
Disabilities Act and the Defendant is still determining its defenses applicable under the Act.
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      (5) Absent special instructions from the assigned judge, proposed dates for the following
          deadlines listed in Local Civil Rule 16.02 (D.S.C.):

         (a) Exchange of Fed.R.Civ.P 26(a)(2) expert disclosures.

RESPONSE: The parties have conferred and agree to the dates set forth in the Court’s
Scheduling Order.

         (b) Completion of Discovery.

RESPONSE: August 20, 2018
      (6) Any special circumstances that would affect the time frames applied in preparing the
          Scheduling Order. See generally, Local Civ. Rule 16.02(C) (D.S.C.) (Content of
          Scheduling Order).

RESPONSE: The Defendant is not aware of any special circumstances that would affect
the scheduling order at this time.

      (7) Any additional information requested in the Pre-Scheduling Order (Local Civ. Rule
          16.01 (D.S.C.)) or otherwise requested by the assigned judge.

RESPONSE: The Defendant is not aware of any additional information which would assist
the Court at this time.



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                                           O. Carlisle Edwards, Jr.
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March 28, 2018




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